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                               IN THE UNITED STATES DISTRICT COURT
                                               DISTRICT OF UTAH


    UNITED STATES OF AMERICA,

           Plaintiff,                               Case No. 2:23-CR-00039-HCN

           vs.                                      REQUEST TO AMEND MOTION IN LIMINE
                                                    (ECF NO. 71) REGARDING KOHLER’S
    ZACHARY BASSETT and                             TESTIMONY, ARTICLES, AND VIDEOS
    MASON WARR,

           Defendants.                              District Judge Howard C. Nielson, Jr.


        The United States requests to amend this motion in limine to include a request for

the preclusion of Defendant Mason Warr’s proposed Exhibit 504, in addition to his

proposed Exhibits 501-503.1 Exhibit 504 an internet video created by Mark Kohler on

April 23, 2020 called “Round Two of Stimulus Act: What are my Options with PPP?” for

the same reasons set forth in the original motion. The United States respectfully submits

there is no prejudice, since the motion has not yet been heard and the parties’ same



1
 Defendant Warr has graciously agreed to renumber his exhibits to begin with 501, so as to avoid overlap with the
United States’ exhibit numbering. Warr’s Exhibits 1-3 are thus now Exhibits 501-503.
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arguments and reasoning applies to this exhibit. No further briefing is required.

(Defendant Warr’s counsel agrees no further briefing is necessary, but Defendant

Bassett’s counsel has not yet responded.)

DATED this 29th day of August, 2024.

                                               Respectfully submitted,

                                               TRINA A. HIGGINS
                                               United States Attorney

                                            By: /s/ Carl D. LeSueur
                                                Carl D. LeSueur
                                                Luisa Gough
                                                Assistant United States Attorneys
